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                                                                    U.S. DISTRICT COURT – N.D. OF N.Y.

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                                                                        Sep 15 - 2023
                                                5:23-MJ-508 (ATB)        John M. Domurad, Clerk




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